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                     IN THE UNTIED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES                                        Case No. 2:19-cr-00369-DWA

v.

LAFON ELLIS


              REPORT AND RECOMMENDATION OF SPECIAL MASTER

I.     INTRODUCTION

       By Order dated October 21, 2021 (Docket No. 182), and pursuant to Federal Rule of

Civil Procedure 53, the Court appointed this Special Master for the limited purposes of

addressing the matters presented by Mr. Ellis’ Emergency Motion (ECF No. 163) (“Motion”).

The Motion asserts that Cybergenetics failed to produce materials this Court ordered to be

produced in a July 23, 2021 Protective Order. (ECF NO. 161).

       Mr. Ellis and the Government fully briefed the issues associated with the Motion. See

ECF Nos. 163, 165, 166, 167. In connection with my assignment, I engaged in multiple

conference calls and email communications with counsel for Mr. Ellis and the Government. Both

Parties had an opportunity to direct me to filings in the record that they believed were germane to

the issues presented by the Motion. In connection with the Motion, Mr. Ellis relied on three

experts (Dr. Jeanna Matthews, Nathan Adams and Dr. Paul Martin) and the Government relied

on two experts (Dr. Mark Perlin and Mark Krofchik). The experts submitted Declarations

addressing the issues presented by the Motion. On December 20 and 23, 2021, I conducted a

hearing that included the testimony of Drs. Matthews, Martin, Perlin and Mr. Krofchik. The

Parties had an opportunity to examine the experts and I had an opportunity to ask questions. The

Parties also presented closing arguments on December 29, 2021. All information and arguments

presented by the Parties was reviewed and considered.
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II.     CYBERGENETICS’ PRODUCTION

        Cybergenetics made three environments available to the defense team on Windows

laptop computers:

        (1) VUIer™ software;
        (2) TrueAllele executable software; and
        (3) TrueAllele source code, with a grepWin search program, a Notepad++ text editor
        review program, and its MATLAB software development environment containing
        relevant Toolboxes.

        Cybergenetics asserts that it also supplied its TrueAllele Disclosure DVD materials for

this case that included TrueAllele user manuals, tutorials, case data, and validation data. Dr.

Perlin Decl. at 3.

        Defense experts reviewed and inspected the produced materials. Dr. Adams engaged in

an inspection on August 18, 19 and 20, 2021 and Dr. Martin engaged in an inspection on

November 29 and 30, 2021.

III.    DISPUTES RELATING TO CYBERGENETICS’ PRODUCTION OF
        MATERIALS IDENTIFIED IN THE PROTECTIVE ORDER

        In his Motion, Mr. Ellis asserts that during the inspection of the materials produced by

Cybergenetics, his expert, Mr. Adams, identified missing materials in violation of Sections 3(b),

3(c), 3(d), 3(f) and 9(c) of the Protective Order. Relying on Dr. Martin’s later inspection, Mr.

Ellis alleged that Cybergenetics also violated Section 3(a) of the Protective Order. The

Government opposes the Motion, arguing that Cybergenetics complied with the Protective

Order. Each of the alleged violations of the Protective Order are addressed below, followed by

my proposed resolution.

        (1)     Reasonable Testing

        Section 9(c) of the Protective Order requires that “[a]ny source code produced in

discovery shall be made available for inspection, in a format allowing it to be reasonably

reviewed, searched and tested . . . .” ECF 161 at 9(c) (emphasis added). A number of the

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arguments relating to Cybergenetics’ compliance with the Protective Order relate to what is, or is

not, “reasonable testing” of probabilistic genotyping software, like the TrueAllele software used

in this case. Because this issue permeates many of the other issues concerning Cybergenetics’

compliance, the issue of reasonable testing will be addressed first.

                Mr. Ellis’ Position

        Mr. Ellis argues that the source code provided was not reasonably reviewable or testable.

Therefore, he asserts, a determination cannot be made as to whether the TrueAllele software used

in this case is reliable when assessed according to the relevant disciplines, including computer

science and software engineering. ECF 166 at 1.

        Mr. Ellis disputes the Government’s position that reasonable testing to determine

reliability is empirical testing, such as running the software on a variety of DNA data samples on

the executable version of the TrueAllele software. Mr. Ellis’ experts opine that empirical testing

is not sufficient to determine reliability.

        To identify “reasonable testing”, the defense experts assert that it is important to look to

relevant sources, such as the Institute of Electrical and Electronics Engineers (“IEEE”). Dr.

Martin relies on the IEEE publication titled “Software Engineering Body of Knowledge

(SWEBOK) that details testing best practices. Martin Decl. at ¶¶ 28-30. He also relies on

International Organization for Standardization (“ISO”) Software Testing Standard 29119 and

asserts that these best practices and guides describe a large set of possible testing methodologies

and topics designed to help find programming errors in the implementation of software code.

Martin Decl. at ¶ 29.

        Drs. Martin and Matthews also rely on IEEE recommendations of testing for probabilistic

genotyping systems that include independent verification and validation (IV&V or V&V) in

accordance with IEEE Standard 1012. Id. at ¶ 32; Tr. 12/23/21 at 128. IEEE Standard 1012


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describes several types of source code testing including acceptance, component and integration

testing. Martin Decl. at ¶ 33. Mr. Ellis further argues that the source code produced does not

provide the ability to do full unit testing and the defense experts cannot do testing necessary for

IV&V. See e.g., Tr. 12/20/21 at 79-80.

       Finally, Dr. Martin also opines that a manual review of the source code to identify likely

sources of errors would be difficult. TrueAllele has approximately 17,000 lines of source code

written by multiple programmers over two decades and he estimates that it would take hours for

a person to read through even a few dozen lines of code to decipher what it does. Id. at ¶ 37.

Therefore, it would be unrealistic to expect that reading through the TrueAllele source code

would yield meaningful information. Id.

               Government’s Position

       The Government argues that the testing requested by Mr. Ellis is not reasonable because

the defense experts are seeking unfettered access to the source code, which is unprecedented. In

making these arguments, the Government points to the record leading up to the Protective Order.

Specifically, The Government relies on the Court’s April 23, 2021 Memorandum Order denying

the Government’s Motion To Quash in which Judge Ambrose made clear that only “some level

of access to source code with proper restrictions represents reasonable outcome here”. ECF 151

at 1. In that Order, Judge Ambrose did not grant the defense with unfettered access to

Cybergenetics’ source code.

       The Government relies heavily on the expert testimony of Dr. Perlin, the founder and

Chief Scientist and Executive at Cybergenetics. Dr. Perlin opines that “[s]cientific standards for

testing probabilistic genotyping software are based on observing how executable software works

on DNA input data produced under different biological conditions”, not by testing the source

code. Perlin Decl. at 8. Software testing starts by observing software program behavior and if


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an issue arises, only then would a developer seek the cause, and examine and adjust the source

code. Id; see also Krofchik, Tr. 12/20/21 at 159.

        Dr. Perlin opines that there are many ways to conduct reasonable testing on TrueAllele to

determine if it produces reliable results. Such testing includes: (1) running Ellis’ DNA on the

executable program provided; (2) running the Rutgers University more than 24,000 DNA

mixture test data samples through TrueAllele to see if it provides the same results; (3) running

Ellis’ DNA through the five other probabilistic genotype software open source programs

available to the defense team; and (4) looking at the core functions of the source code to see if

they work as advertised. Perlin Decl. at 9. Additionally, the defense experts could reasonably

test the source code using the MATLAB development environment provided on the computer.

Id. at 7.

        Dr. Perlin testified that forensic DNA laboratories follow the national standards for

validating probabilistic genotyping systems and do not have access to source code. Perlin Decl.

at 9. Crime laboratory TrueAllele testing is empirical, conducted by running the software on a

variety of DNA data samples. Id. Laboratories write up their testing findings as validation study

reports. Id. For laboratory accreditation, external auditors review the laboratory's validation

reports. Id. Forty-two validation study reports (including the published papers) have been

prepared and were provided to the defense team. Id.

        In refuting Mr. Ellis and his experts’ position that empirical testing is not reasonable, the

Government points to the IEEE letter dated November 18, 2021, relied upon Dr. Martin, in

which IEEE makes recommendations to the National Institute of Standards and Technology

(NIST). See Martin Decl., Ex. C. A “Key Takeaway” of the NIST document on ““DNA

Mixture Interpretation: A NIST Scientific Foundation Review” states that “[t]he degree of

reliability of a component or a system can be assessed using empirical data. . . .” See id. at 5


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(referencing Key Takeaway: #4.1). Dr. Matthews testified that as of this date, NIST has not

adopted IEEE’s recommendation that DNA mixture interpretation using DNA software should

only be deemed reliable based on objective information gathered through IV&V as determined

by IEEE Standard 1012. See, e.g., Matthews, Tr. 12/23/21 at 172.

                Analysis and Recommended Resolution

        I have been charged by Judge Ambrose to address disputes raised by Mr. Ellis concerning

Cybergenetics’ compliance with the terms of the Protective Order. My role as Special Master is

not to define the scope and limits of discovery, which is a matter for the Court.

        The Protective Order does not address what is, or is not, “reasonable” as it relates to

testing of the TrueAllele source code. Mr. Ellis acknowledges that “it could be argued that the

relevant provisions at dispute between the parties in the Court’s order are up for interpretation”.

ECF 166 at 2. He then argues that reasonableness, as it relates to whether the source code

production is conducive to testing, should be interpreted by software engineering and computer

science experts who are within the relevant scientific community of such review and testing. Id.

Relying on software engineering and computer science experts, Mr. Ellis takes the position that

his:

                experts need complete and unfettered access to the program to
                inspect and test it. Less than complete and unfettered access to the
                program can only serve to inhibit review and testing activities.

Id. at 8.

        His experts support the view that unfettered access to the source code for testing is

reasonable and rely on, inter alia, the IEEE letter dated November 18, 2021 written to NIST

which recommends that DNA software be independently verified and validated in accordance

with IEEE Standard 1012. Martin Decl. Ex. C. While Dr. Matthews testified that such

recommendations are the official position of IEEE, she acknowledged that NIST has not yet


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adopted IEEE’s recommendations. Matthews, Tr. 12/23/21 at 127, 172. More importantly,

IEEE Standard 1012 is not mandatory. It is voluntary standard and IEEE recognizes that there

may be other ways to test. An introductory page in IEEE Standard 1012 states that:

               [u]se of an IEEE Standard is wholly voluntary. The existence of an
               IEEE Standard does not imply that there are no other ways to
               produce, test, measure, purchase, market, or provide other goods
               and services related to the scope of the IEEE Standard.

See Martin Decl, Ex. D, IEEE Standard 1012, 4th page (unpaginated).

        The Protective Order does not say that IEEE compliance is required in connection with

the reasonableness of testing. IEEE was only referenced in Section 3(c) of the Protective Order

in relation to the production of:

               software engineering and development materials describing the
               development, deployment, and maintenance of the version(s) of the
               TrueAllele software system used in the instant case, including the
               software engineering documents recommended by organizations
               such as the Institute of Electrical and Electronics Engineers or the
               Internal Organization for Standardization.

ECF 161 at 3(c).

        Section 9(c) requires that source code produced in discovery be made available for

inspection, “in a format allowing it to be reasonably reviewed, searched and tested . . . .” ECF

161 at 9(c) (emphasis added). It does not require compliance with voluntary IEEE standards, let

alone the robust requirements for IV&V recommended by IEEE Standard 1012.

        While Mr. Ellis readily admits that his experts need complete and unfettered access to the

program, it is notable that when cross examined by the Government, Defense expert, Dr. Martin,

was unable to think of a specific example during his career where, in a litigation matter, he was

provided with everything the defense is asking for in this case. Martin, Tr. 12/20/21 at 20 (ECF

193).




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           A review of the record leading up to Mr. Ellis’ Motion reflects that Judge Ambrose did

not intend for the defense to have unfettered access to Cybergenetics’ source code. In a April 23,

2021 Memorandum Order denying the Government’s Motion for Reconsideration, Judge

Ambrose stated that “some level of access to source code with proper restrictions represents

reasonable outcome here”. ECF 151 (emphasis added).

           I therefore reach the conclusion that the reference in Section 9(c) of the Protective Order,

requiring the source code to be made available for inspection “in a format allowing it to be

reasonably reviewed, searched and tested”, does not include complete and unfettered access to

the source code, as requested by Mr. Ellis.

           (2)      Complete Build Environment And Build Instructions

                              Mr. Ellis’ Position

           Mr. Ellis asserts that Cybergenetics is in violation of Sections 3(b), 3(c) and 9(c) of the

Protective Order by failing to provide a complete build environment and build instructions. He

takes the position that a complete build environment is a missing dependency required by

Section 3(b) of the Protective Order and that the software cannot be reasonably reviewed and

tested as required by Section 9(c) of the Protective Order without a complete build environment.

Mr. Ellis further argues that build instructions are software engineering and development

materials required by Section 3(c) of the Protective Order.

           In support of that view, Dr. Martin opines that because the dependencies needed to build1

and test the code, including a complete build environment and build instructions, are missing, the
1 According to IEEE’s Software Engineering Body of Knowledge (SWEBOK) version 3 relied upon by the defense

experts:

           Software building is the activity of combining the correct versions of software configuration items, using
           the appropriate configuration data, into an executable program for delivery to a customer or other recipient,
           such as the testing activity. . . . Build instructions ensure that the proper build steps are taken in the correct
           sequence.

Martin Decl., Ex. B at 6.1.


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source code produced by Cybergenetics was not in a format that allowed it to be reasonably

tested. Martin Decl. at ¶ 57. According to Dr. Martin, one of the best source code analysis tools

is a fully functioning build environment, which allows the reviewer to compile the source code

into a working program. Id. at ¶ 56.

        Testing the executable version of the software, as suggested by the Government and Dr.

Perlin, is insufficient, because according to Dr. Martin:

        Providing an already built version of the source code along with the source code is not
        enough. To test source code, one would expect the ability to modify lines of code and
        rebuild the software and to interactively debug any object code built from the source
        code. In order to do these things, a proper build environment must be provided.

Id. at ¶ 69.

        Defense experts, Dr. Matthews and Mr. Adams, further opine that to build a functionally

identical version of the TrueAllele from the source code, build instructions are required. ECF

No. 161 at ¶ 4. Build instructions should have been provided because Section 3(c) of the

Protective Order requires production of “software engineering documents recommended by

organizations such as the Institute of Electrical and Electronics Engineers [IEEE]” and build

instructions are recommended by IEEE in its publication titled “Software Engineering Body of

Knowledge (SWEBOK). ECF 166 at 6-7.

        Without build instructions, the source code is not in a format allowing it to be reasonably

reviewed, searched and tested in violation of section 9(c) of the protective order. Finally, Mr.

Ellis argues that to the extent build instructions are not available, Cybergenetics should be

required to generate such instructions.




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        Mr. Ellis also takes the position that build instructions did not need to be expressly

named in the Protective Order because they fall into the category of materials to be provided

under Sections 3(c) and 9(c) of the Protective Order. Id. at 8.

               Government’s Position

       The Government argues that the Court never ordered Cybergenetics to provide materials

sufficient for the defense experts to build or recreate the program. Such an order would give the

defense experts complete and unfettered access to the program, which is not consistent with the

verbiage of the Court order or the spirit or Order that provides Cybergenetics some protection for

its trade secrets. ECF 165 at 3.

       Cybergenetics produced the source code, which demonstrates how the program was

constructed. The Government argues that the program took a team of sophisticated computer

scientists years to build, and there are no step-by-step instructions for how to build a program

with this degree of sophistication. Id. Even if step-by-step instructions were available, the

defense expert is not qualified to re-create a program of this degree of sophistication, and, even if

he was, it would take years to do correctly and who would pay for such an exercise. See, e.g., id.

Rebuilding the program will not advance a determination of its reliability when the defense

expert can test the executable program provided to the defense as opposed to a version of the

program that Mr. Ellis’ experts would attempt to rebuild, undoubtedly unsuccessfully. Id.

       Dr. Perlin testified that Cybergenetics’ source code includes build instructions in the

context of the provided MATLAB programming environment. Perlin Decl. at 5. The MATLAB

software is self-assembling. Id. Therefore, TrueAllele and other MATLAB software does not

need or use the manual “build instructions” requested by the Defense. Id. Moreover, Dr. Perlin

testified that TrueAllele cannot be built without connecting to other computers over a network,

which is expressly prohibited by Section 9 of the Protective Order. Id.


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       Dr. Perlin further opined that the Defense can empirically test the executable version of

TrueAllele on the DNA data in this case or on available validation data because Cybergenetics

provided the Defense expert with an executable testing environment of “the version of

TrueAllele used in this case from the source code.” Id. Such testing is consistent with the

testing conducted by Cybergenetics' software testers, forensic analysts, crime laboratory

customers, university students and researchers, and other scientists test TrueAllele on the

executable TrueAllele software they want to use. Id.

       Finally, the Government argues that Mr. Ellis previously requested the complete build

environment and build instructions but such requests were denied by Judge Ambrose and were

not included in the final Protective Order that governs Cybergenetics’ production.

               Analysis and Recommended Resolution

       There is nothing in the express language of the Protective Order suggesting that

Cybergenetics was required to provide Mr. Ellis and his experts with a complete build

environment or that Cybergenetics was required to provide instructions for the defense to build a

functionally identical version of the TrueAllele from the source code.

       Although Mr. Ellis argues that it is not necessary for build instructions to be expressly

named in the Protective Order, that position is not supported by the record in this case. Prior to

issuance of the Protective Order, Mr. Ellis argued that Cybergenetics should be required to

provide a build environment and build instructions. See, e.g., ECF 83 at 26; ECF 143 at 2, 14.

The Government opposed that production and Parties agreed to use a protective order used in

State v. Pickett, No. A-4207-19T4, 2021 N.J. Super. LEXIS 17 (N.J. Super. Ct. App. Div. Feb. 3,

2021) with a change the Court made in response to a request by the Government. The final

Protective Order in this case makes no reference to a build environment and build instructions

that had previously been requested by Mr. Ellis.


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       The documents upon which Mr. Ellis’ own experts rely also include express references to

a build environment and build instructions that do not exist in the Protective Order for this case.

For example, footnote 26 of the previously referenced IEEE letter to NIST provides a list of

“information needed” to build, run and test the software and includes language similar to

Sections 3(b), (c), (d), (e) and (f) of the Protective Order. See Martin Decl. at ¶ 32, Ex. C, n 26.

As reflected in the comparison below, build instructions are expressly referenced as “information

needed” in the IEEE letter but build instructions are not included in the similar language of the

Protective Order in this case.


IEEE Letter Footnote 26 at Page 10                  Section 3(c) of the Protective Order

Software engineering and development                Software engineering and development
materials describing the development,               materials describing the development,
deployment, and maintenance of the version(s)       deployment, and maintenance of the version(s)
of the software system used in the instant case,    of the TrueAllele software system used in the
including the software engineering documents        instant case, including the software engineering
and build instructions;                             documents recommended by organizations
                                                    such as the Institute of Electrical and
                                                    Electronics Engineers or the Internal
                                                    Organization for Standardization;

       I find that Cybergenetics is not in violation of the Protective for failing to provide a

complete build environment or build instructions.

       (3)     Databases

                       Mr. Ellis’ Position

       Mr. Ellis argues that Cybergenetics failure to provide databases, including the

PostgreSQL database, on the source code computer constitute violations of Sections 3(b) and

9(c) of the Protective Order.

       The defense experts take the position that these databases are software dependencies

required by Section 3(b). Dr. Martin opines that a software developer would understand that a



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software dependency is anything that is needed to run the software and he cites industry sources

to support his view. Martin Decl. at ¶ 52-55. Without the databases installed and available on the

source code inspection computer, Dr. Matthews and Mr. Adams take the position that it is

reasonable to expect that TrueAllele’s full functionality cannot be tested. See, e.g., ECF 166 at 4.

       Mr. Ellis also argues that his experts cannot engage in reasonable testing and review of

the source code consistent with Section 9(c) of the Protective Order because they are unable to

test and see how the source code works without the databases. Missing dependencies, such as

databases, resulted in error states when attempting to run the TrueAllele source code, preventing

system-level testing and many unit-level tests from being initiated and preventing execution path

tracing from being conducted.” Id. at 4-5.

       In response to Cybergenetics assertion that it would be extremely difficult to produce

source code connected to the database and might take a 2-5 year development effort to put on

Windows laptop, Mr. Ellis argues that it was Cybergenetics’ decision to put the source code on a

Windows laptop and its decision in doing so should not preclude the production of the databases.

                       Government’s Position

       The Government argues that databases are not contemplated in the express language of

the Protective order. The Protective Order only refers to libraries, toolboxes, plus-ins and

frameworks as dependency examples. Dr. Perlin and Mr. Krofchik testified that each of those

examples are code; databases are not code and are instead, data repositories. See, e.g., Krofchik,

Tr. 12/20/21 at 198; Perlin, Tr. 12/23/21 at 100.

       Dr. Perlin testified that Cybergenetics provided all “software dependencies” by giving

defense experts the TrueAllele source code in the MATLAB development environment. Perlin

Decl. at 3. The MATLAB environment contains the requisite “external standalone libraries” of

code for “software dependencies.” Id.


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       As a regular business practice, Cybergenetics does not install databases on development

computers or on any end user computers. Id. at 4. Access to the databases was made available

through a network connection on the executable program, similar to how end users receive it. Id.

Because database access from a Cybergenetics’ source code review computer can only be made

through a network connection to an external database computer, the Government argues, it was

not contemplated by the Protective Order. Instead, Section 9(c) of the Protective Order prohibits

such connections and therefore does not allow connecting the source code review computer to an

external database.

       Dr. Perlin also opined that any access to the TrueAllele database would present security

concerns because the database contains sensitive information that can compromise the security of

installed systems, as well as violate insurance policies and contracts with customers. Perlin, Tr.

12/23/21 at 53, 94.

       Access to databases from the source code computer is unnecessary for source code

review or testing lines of source code. Cybergenetics provided defense experts with a TrueAllele

testing environment that was connected to a database that can be used for normative empirical

testing of executable software on DNA data. Perlin Decl. at 4. As such, Dr. Perlin asserts that

TrueAllele's full functionality can be examined. Id.

       Finally, if required to provide the databases on the source code computer, Dr. Perlin

testified that it would be difficult to produce and could be a 2-5 year development effort to put on

Windows laptop. Perlin, Tr. 12/23/21 at 86. The Government argues that such work is not

consistent with discovery and would require an unreasonable amount of time and resources.

               Analysis and Recommended Resolution

       The express language of the Protective Order does not make any reference to databases.

Prior to issuance of the Protective Order, Mr. Ellis argued that Cybergenetics should be required


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to provide databases. See, e.g., ECF 83 at 26; ECF 143 at 2, 14. The Government opposed that

production and Parties agreed to use a protective order used in State v. Pickett, No. A-4207-

19T4, 2021 N.J. Super. LEXIS 17 (N.J. Super. Ct. App. Div. Feb. 3, 2021) with a change the

Court made in response to a request by the Government. The final Protective Order in this case

makes no reference to databases that had previously been requested by Mr. Ellis.

       It is also notable that footnote 26 to the previously referenced IEEE letter relied on by

Mr. Ellis’ experts includes language similar to that included in Section 3(b) of the Protective

Order but makes express reference to “databases”. A comparison of the language relating to

databases in footnote 26 of the IEEE letter and the language of Section 3(b) of the Protective

Order is listed below. The Protective Order in this case does not include a reference to

“databases”.

IEEE Letter Footnote 26 at Page 10                 Section 3(b) of the Protective Order

All software dependencies including third-         All software dependencies including third-
party code libraries, toolboxes, plug-ins,         party code libraries, toolboxes, plug-ins, and
frameworks and databases;                          frameworks;


       Further support for the view that databases were not intended to be provided with the

source code is the express language of the Protective Order that prohibits source code inspection

with Internet access or network access to other computers. Because database access from a

Cybergenetics source code computer can only be made through a network connection to an

external database computer, such access was not contemplated by the terms of the Protective

Order. Cybergenetics did however provide the defense with an executable version of the

TrueAllele testing environment that was connected to a database.

       I find that Cybergenetics is not in violation of the Protective Order for failing to provide

databases on the source code computer.



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        (4)     Missing Source Code

                Mr. Ellis’ Position

        Section 3(a) of the Protective Order requires production of “TrueAllele source code for

the version used in the instant case”. Mr. Ellis’ experts assert that all of the source code was not

produced and some files were not produced as they were stored in normal course of business.

Martin Decl. at ¶¶ 61-65.

        Specifically, Dr. Martin opined that during his inspection of the source code, he observed

references to files and code that did not appear to have been produced and suggests that it is

possible additional files and code are missing. Martin Decl. at ¶ 66. Mr. Ellis and his experts

assert that omission of these files prevents the defense from reasonable review and testing of the

source code in violation of Sections 3(a) and 9(c) of the Protective Order. Id.

        Dr. Martin further testified that the source code production of 4,432 files lacked any

directory structure that would be expected. Id. at ¶ 63. The flatness of the folder structure

appeared to be an artificial construct of the production. Id. at ¶ 64. Without the source code in

the proper directory structure, Dr. Martin opined that the code cannot be reasonably tested as any

links between the files in the source code are broken and therefore the code with such links will

not run. Id. The modified directory structure also has the effect of obfuscating the true

relationship of the files to each other. Id. at ¶ 66.

                Government’s Position

        Dr. Perlin acknowledged that some portions of the source code were not made available

but asserts that such source code was reasonably excluded and irrelevant. Perlin, Tr. 12/23/21 at

52. The only source code that was not made available was source code relating to security keys,

encryption keys, passcodes, passwords and accessing other machines. Id. at 49, 90. The security

mechanisms were removed because they provide access to Cybergenetics and its customer’


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computers and such codes are not part of how the system functions and therefore, are irrelevant.

Id. at 49-50. Dr. Perlin also testified that production of such codes would violate Cybergenetics’

contracts with customers and its insurance policies. Id. at 53. The Government and Dr. Perlin

argued that such restrictions were reasonable and it would be irresponsible to give passcodes and

opportunities to break into Cybergenetics’ system. Id. Further, because the Protective Order

prohibits connecting the source code review computer to the Internet, networks, or other

computers, access to the source code connections was removed.

       With regard to the defense experts’ testimony that the source code lacked any directory

structure, Dr. Perlin testified that he wrote a program to put the files on a Windows PC. Id. at

90.

               Analysis and Recommended Resolution

       Section 3(a) of the Protective Order required Cybergenetics to produce “TrueAllele

source code for the version used in the instant case”. While the Protective Order did not exclude

certain files from production, given recent high profile cybersecurity incidents, Cybergenetics’

concerns involving the security of its computers and that of its customers must be taken

seriously. It is not clear how much source code Cybergenetics removed for security reasons but

no evidence was presented to suggest that anything more than security keys, encryption keys,

passcodes, passwords should be removed from the source code. To the extent that Cybergenetics

removed additional source code, such source code should be produced and all security keys,

encryption keys, passcodes, passwords may be redacted.

       With regard to Cybergenetics failure to produce source code relating to connections for

the databases, the Protective Order does not exclude such source code from production and it

should be produced on the source code computer. Because the source code computer is not

connected to the internet, networks or other computers, there is no reason to believe that there are


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concerns about accessing the databases. Cybergenetics may however redact security keys,

encryption keys, passcodes, passwords or other log in credentials associated with access to the

databases if such codes are embedded in the source code.

       Cybergenetics should also produce the source code files with directory structures that

exist in the source code as they are kept at Cybergenetics in the normal course of business. To

the extent that directory structures were removed, by virtue of the fact that a program was written

to put the files on the Windows PC or otherwise, Cybergenetics should be required to produce

source code files in the structure as they are maintained at Cybergenetics.

       (5)     Other Software Engineering And Development Materials

                       Mr. Ellis’ Position

       Section 3(c) of the Protective Order requires the production of “Software engineering and

development materials describing the development, deployment, and maintenance of the

version(s) of the TrueAllele software system used in the instant case, including the software

engineering documents recommended by organizations such as the IEEE or ISO.

       Mr. Ellis argues that documents recommended by IEEE and ISO were not produced by

Cybergenetics and therefore, Cybergenetics is in violation of the Protective Order.

               Government’s Position

       Dr. Perlin testified that the IEEE standards apply to large-scale multi-party software

development projects that require planning and coordination across many people, locations, or

organizations and such project approaches are irrelevant. Perlin Decl. at 5. For smaller

organizations, like Cybergenetics, the forensic industry's national standards for ensuring the

reliability of probabilistic genotyping are most relevant. Id. These scientific software standards

are based on empirical testing of relevant DNA data. Cybergenetics produced five TrueAllele

standard compliance documents that Cybergenetics provided on the Disclosure DVD. Id. Dr.


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Perlin also testified that Cybergenetics provided the software engineering documents it had

available, including a 51- page “VUIer Updates” document describing software updates,

changes, improvements, new features, bugs, and fixes in prerelease testing versions. Id. at 4.

               Analysis and Recommended Resolution

        Cybergenetics does not rely on IEEE standards and it cannot produce software

engineering and development materials that it does not have in its possession, custody or control.

Dr. Perlin testified that Cybergenetics produced TrueAllele standard compliance documents and

therefore, there is no violation of Section 3(c) of the Protective Order.

        (6)    Records Of Software Glitches, Crashes, Bugs, Or Errors

               Mr. Ellis’ Position

        Section 3(d) of the Protective Order requires production of “[a]ll records of software

glitches, crashes, bugs, or errors encountered during the TrueAllele developmental validation

study”. In his Motion, Mr. Ellis argued that Cybergenetics failed to disclose any records.

               Government’s Position

        Dr. Perlin asserts that the developmental validation studies were conducted on thoroughly

developer-tested TrueAllele software. Perlin Decl. at 6. Therefore, no “software glitches,

crashes, bugs, or errors” were encountered during these studies. Id. Hence, no such records

exist. Id.

               Analysis and Recommended Resolution

        Because no records of software glitches, crashes, bugs, or errors encountered during the

TrueAllele developmental validation study exist, there are no records to produce. There is no

violation of Section 3(d) of the Protective Order.

        (7)    Software Version

        Section 3(e) of the Protective Order is not in dispute.


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IV.    CONCLUSION

       It is my recommendation that Cybergenetics’ Motion be granted in part and denied in

part. Cybergenetics should produce:

           a) all source code files, including source code with connections to databases with the

               exception that security keys, encryption keys, passcodes, passwords or other log

               in credentials may be redacted; and

           b) source code files with directory structures that exist as the source code is kept at

               Cybergenetics in the normal course of business.

       All other demands by Mr. Ellis that Cybergenetics produce further materials under the

terms of the Protective Order should be denied.



                                             Respectfully Submitted

                                                /s/ Sandra A. Jeskie
                                             Sandra A. Jeskie
                                             Special Master


Dated: January 17, 2022




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